         Case 8:18-bk-10590-CB Doc 12 Filed 03/10/18 Entered 03/10/18 21:35:08                                               Desc
                             Imaged Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 18-10590-CB
Randy Ramirez                                                                                              Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-8                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 08, 2018
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 10, 2018.
db             +Randy Ramirez,   120 S. Milton Street,   Anaheim, CA 92806-3109

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 10, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 8, 2018 at the address(es) listed below:
              Amrane (SA) Cohen (TR)     efile@ch13ac.com
              Nancy L Lee   on behalf of Interested Party    Courtesy NEF bknotice@mccarthyholthus.com,
               nlee@ecf.courtdrive.com
              Ronald A Norman   on behalf of Debtor Randy Ramirez ronaldanorman@sbcglobal.net,
               david@jshoffmanlaw.com
              United States Trustee (SA)    ustpregion16.sa.ecf@usdoj.gov
                                                                                             TOTAL: 4
     Case 8:18-bk-10590-CB Doc 12 Filed 03/10/18 Entered 03/10/18 21:35:08                                            Desc
                         Imaged Certificate of Notice Page 2 of 3

                                                                                     FOR COURT USE ONLY




                                                                                        FILED & ENTERED

                                                                                                  MAR 08 2018

                                                                                             CLERK U.S. BANKRUPTCY COURT
                                                                                             Central District of California
                                                                                             BY firman     DEPUTY CLERK




                                     UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                  SANTA ANA DIVISION
 In re:                                                                              CASE NO. 8:18-bk-10590-CB

RANDY RAMIREZ                                                                        CHAPTER: 13



                                                                                         ORDER TO SHOW CAUSE


                                                                        Debtor(s).   DATE: March 20, 2018
                                                                                     TIME: 10:00 a.m.
                                                                                     COURTROOM: 5D
                                                                                     PLACE: 411 W Fourth St
                                                                                            Santa Ana CA 92701


In the above entitled bankruptcy case,

                              ³$WWRUnH\´ failed to file a status report.

                              ³$WWRUnH\´ failed to appear at                                   .

    Debtor has failed to file schedules or other petition-related documents.

   Debtor failed to disclose prior bankruptcies on page 3 of the petition

   Debtor is an entity that must be represented by an attorney. [LBR 9011-2(a)]

    Other: Debtor to appear and explain the purpose and feasibility of the current filing.
     Case 8:18-bk-10590-CB Doc 12 Filed 03/10/18 Entered 03/10/18 21:35:08                                                            Desc
                         Imaged Certificate of Notice Page 3 of 3


It is ORDERED that DEBTOR RANDY RAMIREZ AND ATTORNEY RONALD NORMAN shall personally appear at the
DATE, TIME and PLACE referenced above.


   It is further ORDERED that on or before March 16, 2018, Debtor shall file a declaration under penalty of perjury
explaining the purpose and feasibility of the bankruptcy filing given the prior bankruptcy and the failure to file case
commencement documents.

   At the hearing, the Court will determine whether the above entitled bankruptcy case should be dismissed as filed
improperly.

   At the hearing, the Court will determine whether sanctions will be imposed.



                                                                        ###




               Date: March 8, 2018




            This form is for the EXCLUSIVE use of the United States Bankruptcy Court, Central District of California, Santa Ana Division.
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